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          Case MDL No. 2595 Document 91 Filed 10/26115 Page 1 of 2




                                   UNITED STATES JUDICIAL PANEL
                                                   on
                                     MUL TIDISTRlCT LITIGATION
                                                                                      lOl5   ocr 2b   P 4= f 3

IN RE: COMMUNITY HEALTH SYSTEMS, INC.,
                                                                                    U.s. DISTRICT COURT
CUSTOMER DATA SECURITY BREACH                                                        '·1.0. OF AU\8f\i1A
LITIGATION                                                                              MDL No. 2595



                                      (SEE ATTACHED SCHEDULE)



                                CONDITIONAL TRANSFER ORDER (CTO -6)



On February 4,2015, the Panel transferred 4 civil action(s) to the United States District Court for
the Northern District of Alabama for coordinated or consolidated pretrial proceedings pursuant to 28
U.S.c. § 1407. See 84 F.Supp.3d 1362 (lP.M.L. 2015). Since that time, 9 additional action(s) have
been transferred to the Northern District of Alabama. With the consent of that court, all such actions
have been assigned to the Honorable Karon O. Bowdre.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the Northern District of Alabama and assigned to
Judge Bowdre.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Liti~ation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
Northern District of Alabama for the reasons stated in the order of February 4, 2015, and, with the
consent of that court, assigned to the Honorable Karon O. Bowdre.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Northern District of Alabama. The transmittal of this order to said Clerk shall
be stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7-day period, the stay will be continued until further order of the Panel.



                                                        FOR THE PANEL:


                                                        ~#-
  Inasmuch as no objection is
  pending at this time. the
  stay is lifted.

      Oct 26,2015
                                                        Jeffery N. LUthi
       CLERK'S OFFICE
         UNITED STATES
                                                        Clerk of the Panel
       JUDICIAL PANEL ON
     MUlTIDISTRICT LITIGATION
    Case 2:15-cv-01883-KOB Document 9 Filed 10/27/15 Page 2 of 2
       Case MOL No. 2595 Document 91 Filed 10/26115 Page 2 of 2




IN RE: COMMUNITY HEALTH SYSTEMS, INC.,
CUSTOMER DATA SECURITY BREACH
LITIGATION                                                         MDL No. 2595



                     SCHEDULE CTO-6 - TAG-ALONG ACTIONS



                       c'A.NO.    CASE CAPTION


PENNSYL VANIA WESTERN

                                  SMITH v. COMMUNITY HEALTH SYSTEMS, INC.
 PAW            2     15-00403
                                  et al

   CY-1S-BE-18Bl-S
